                      Case 2:23-cr-00197-JS-AYS Document 18-1 Filed 05/15/23 Page 1 of 1 PageID #: 76

TO: Clerk's Office
    UNITED STATES DISTRICT COURT                                             FILED
                                                                         IN CLERK'S OFFICE
    EASTERN DISTRICT OF NEW YORK                                   U.S. DISTRICT COURT E.D.N.Y.

                                                                           MAY 15 2023
      APPLICATION FOR LEAVE
    TO FILE DOCUMENT UNDER SEAL
                                                                   *LONG ISLAND OFFICE
                                                                                                *
                                                                                        A) If pursuant to a prior Court Order:
********************************                                                        Docket Number of Case in Which Entered: _ _ _ _ _ __
USA                                                                                     Judge/Magistrate Judge: _ _ _ _ _ _ _ _ _ _ _ __
                                                                                        Date Entered:
                                                     23-CR- l 970'S)
                                                                                                      -----------------
             -v.-
                                                     Docket Number

********************************
                                                                                        B) If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiff_ _ Defendant_ _ DOJ                                             authorizes filing under seal
Name:- - - - - - - - - - - - - - - - -
Finn Name: _ _ _ _ _ _ _ _ _ _ _ _ _ __
Address:
        ----------------
Phone Number:                                                                           ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
              --------------
E-Mail Address:                                                                         AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                --------------                                                          THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO
If yes, state description of document to be entered on docket sheet:                    DATED: 5/15123                    CENTRAL ISLIP, NEW YORK
                                                                                        Isl Anne Y. Shields


                                                                                        U.S. DISTRICT JUDGE/U.S. MAGISTRATE JUDGE

                                                                                        RECEIVED IN CLERK'S OFFICE_ _ _ _ _ _ _ _ __
                                                                                                                       DATE
MANDATORY CERTIFICATION OF SERVICE:
A.)_ A copy of this application either has been or will be promptly served upon all parties to this action, B.) _ Service is excused by 31 U.S.C. 3730(b), or
by the following other statute or regulation: _ _; or C.) _ _This is a criminal document submitted, and flight public safety, or security are significant
concerns. (Check one)


                             DATE                                        SIGNATURE
